                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA

 Jody Nasta, individually and on behalf of all others similarly
 situated,                                                            Case. No.: 3:21-cv-389
                                            Plaintiff,
                                                                      CLASS ACTION COMPLAINT

                                                                      DEMAND FOR JURY TRIAL
          -v.-
 Receivables Management Partners LLC d/b/a rmp LLC,
                                        Defendant(s).

       Plaintiff Jody Nasta (hereinafter referred to as “Plaintiff”) brings this Class Action

Complaint by and through her attorneys, Stein Saks, PLLC, against Defendant Receivables

Management Partners LLC d/b/a rmp LLC (hereinafter referred to as “Defendant”), individually

and on behalf of a class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of

Civil Procedure, based upon information and belief of Plaintiff’s counsel, except for allegations

specifically pertaining to Plaintiff, which are based upon Plaintiff's personal knowledge.

                       INTRODUCTION/PRELIMINARY STATEMENT

     1.          The Fair Debt Collection Practices Act (“FDCPA”) was enacted in response to the

“abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by many

debt collectors.” 15 U.S.C. §1692(a). This was because of the concern that “abusive debt collection

practices contribute to the number of personal bankruptcies, to marital instability, to the loss of jobs,

and to invasions of individual privacy.” Id. Congress concluded that “existing laws…[we]re

inadequate to protect consumers,” and that “'the effective collection of debts” does not require

“misrepresentation or other abusive debt collection practices.” 15 U.S.C. §§ 1692(b) & (c).

     2.          The purpose of the Act was not only to eliminate abusive debt collection practices,

but also to ensure “that those debt collectors who refrain from using abusive debt collection practices


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are not competitively disadvantaged.” Id. § 1692(e). After determining that the existing consumer

protection laws were inadequate Id. § 1692(b), Congress gave consumers a private cause of action

against debt collectors who fail to comply with the Act. Id. § 1692k.

                                   JURISDICTION AND VENUE

      3.        The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over any State law claims in this action

pursuant to 28 U.S.C. § 1367(a).

      4.        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where the Plaintiff resides, as well as a where a substantial part of the events or omissions giving

rise to the claim occurred.

                                   NATURE OF THE ACTION

      5.        Plaintiff brings this class action on behalf of a class of North Carolina consumers

under § 1692 et seq. of Title 15 of the United States Code, also known as the Fair Debt Collections

Practices Act (“FDCPA”), and

      6.        Plaintiff is seeking damages and declaratory relief.

                                              PARTIES

      7.        Plaintiff is a resident of the State of North Carolina, County of Davidson.

      8.        Defendant is a “debt collector” as the phrase is defined in 15 U.S.C. § 1692(a)(6) and

used in the FDCPA, with an address for service at 212 South Tryon Street, Suite 1000, Charlotte,

NC 28281 Mecklenburg County.

      9.        Defendant is a company that uses the mail, telephone, and facsimile and regularly

engages in business, the principal purpose of which is to attempt to collect debts alleged to be due

itself or another.



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                                      CLASS ALLEGATIONS

     10.    Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ. P.

23(a) and 23(b)(3).

     11.    The Class consists of:

            a.     all individuals with addresses in the State of North Carolina;

            b.     to whom Defendant sent an initial collection letter;

            c.     attempting to collect a consumer debt;

            d.     providing multiple addresses;

            e.     without identifying the correct address to which to send a dispute; and

            f.     which letter was sent on or after a date one (1) year prior to the filing of this action

                   and on or before a date twenty-one (21) days after the filing of this action.

     12.    The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or have

purchased debts.

     13.    Excluded from the Plaintiff Class is the Defendant and all officers, members, partners,

managers, directors and employees of the Defendant and its respective immediate families, and legal

counsel for all parties to this action, and all members of their immediate families.

     14.    There are questions of law and fact common to the Plaintiff Class, which common issues

predominate over any issues involving only individual class members. The principal issue is whether

the Defendant’s written communications to consumers, in the forms attached as Exhibit A, violate

15 U.S.C. §§ 1692e, 1692f, and 1692g.

     15.    The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the Plaintiff



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Class defined in this complaint. The Plaintiff has retained counsel with experience in handling

consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor his attorneys

have any interests, which might cause them not to vigorously pursue this action.

     16.    This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a well-

defined community interest in the litigation:

               a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                   that the Plaintiff Class defined above is so numerous that joinder of all members

                   would be impractical.

               b. Common Questions Predominate: Common questions of law and fact exist as

                   to all members of the Plaintiff Class and those questions predominance over any

                   questions or issues involving only individual class members. The principal issue

                   is whether the Defendant’s written communications to consumers, in the forms

                   attached as Exhibit A violate 15 U.S.C. §§ 1692e, 1692f, and 1692g.

               c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

                   The Plaintiff and all members of the Plaintiff Class have claims arising out of the

                   Defendant’s common uniform course of conduct complained of herein.

               d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

                   class members insofar as Plaintiff has no interests that are averse to the absent

                   class members. The Plaintiff is committed to vigorously litigating this matter.

                   Plaintiff has also retained counsel experienced in handling consumer lawsuits,

                   complex legal issues, and class actions. Neither the Plaintiff nor her counsel have




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                   any interests which might cause them not to vigorously pursue the instant class

                   action lawsuit.

               e. Superiority: A class action is superior to the other available means for the fair

                   and efficient adjudication of this controversy because individual joinder of all

                   members would be impracticable. Class action treatment will permit a large

                   number of similarly situated persons to prosecute their common claims in a single

                   forum efficiently and without unnecessary duplication of effort and expense that

                   individual actions would engender.

     17.       Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff Class

predominate over any questions affecting an individual member, and a class action is superior to

other available methods for the fair and efficient adjudication of the controversy.

     18.       Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues pursuant

to Fed. R. Civ. P. 23(c)(4).

                                      FACTUAL ALLEGATIONS

     19.       Plaintiff repeats the above allegations as if set forth fully herein.

     20.       Some time prior to January 19, 2021, Plaintiff allegedly incurred an obligation to

Wesley Long Hospital, the original creditor.

     21.       Therefore, Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a (3).

     22.       Upon information and belief, Wesley Long Hospital contracted with the Defendant

for the purpose of debt collection.

     23.       Therefore, Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a (6).



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     24.       The subject obligation arose out of alleged medical services provided by Wesley

Long Hospital in which money, property, insurance or services, which are the subject of the

transaction, were incurred solely for personal purposes, specifically medical care for the Plaintiff.

     25.       Therefore, the subject obligation is a “debt” as defined by 15 U.S.C.§ 1692a (5).

     26.       Defendant collects and attempts to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United States

Postal Services, telephone and internet.

                            Violation – January 19, 2021 Collection Letter

     27.       On or about January 19, 2021, Defendant sent the Plaintiff an initial collection letter

regarding the alleged debt owed to Wesley Long Hospital. (See Letter attached as Exhibit A.)

     28.       The letter ostensibly provides the notices as required by 15 U.S.C. § 1692g regarding

disputing the debt.

     29.       However, there are three addresses listed for Defendant in three different states:

               a. 200 N. New Road, Waco TX 76710

               b. PO BOX 630844 Cincinnati OH 45263

               c. PO Box 9489 Coral Spring, FL 33065

     30.       None of the three addresses are specifically identified as the correct address to which

to send a dispute.

     31.       Plaintiff was therefore confused as to how to properly dispute the debt and exercise

her rights under § 1692g.

     32.       Upon information and belief, disputes sent to one or more of these addresses will not

be honored by Defendant.




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      33.        Listing these incorrect addresses misled Plaintiff into believing a proper dispute can

be sent there.

      34.        Plaintiff was therefore unable to straightforwardly dispute the debt resulting in

wasted time.

      35.        Plaintiff was therefore unable to evaluate her options of how to handle this debt.

      36.        Because of this, Plaintiff expended time, money, and effort in determining the proper

course of action.

      37.        These violations by Defendant were knowing, willful, negligent and/or intentional,

and Defendant did not maintain procedures reasonably adapted to avoid any such violations.

      38.        Defendant’s collection efforts with respect to this alleged debt from Plaintiff caused

Plaintiff to suffer concrete and particularized harm, inter alia, because the FDCPA provides Plaintiff

with the legally protected right not to be misled or treated unfairly with respect to any action

regarding the collection of any consumer debt.

      39.        Defendant’s deceptive, misleading and unfair representations with respect to its

collection efforts were material misrepresentations that affected and frustrated Plaintiff's ability to

intelligently respond to Defendant’s collection efforts because Plaintiff could not adequately

respond to Defendant’s demand for payment of this debt.

      40.        Defendant’s actions created an appreciable risk to Plaintiff of being unable to

properly respond or handle Defendant’s debt collection.

      41.        Plaintiff was confused and misled to her detriment by the statements in the dunning

letter, and relied on the contents of the letter to her detriment.

      42.        Plaintiff would have pursued a different course of action were it not for Defendant’s

statutory violations.



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     43.      As a result of Defendant’s deceptive, misleading and false debt collection practices,

Plaintiff has been damaged.

                                             COUNT I

           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. §1692e et seq.

       44.    Plaintiff repeats the above allegations as if set forth herein.

       45.    Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

   violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

       46.    Pursuant to 15 U.S.C. § 1692e, a debt collector may not use any false, deceptive, or

   misleading representation or means in connection with the collection of any debt.

       47.    Defendant violated said section by deceptively and/or misleadingly providing

   multiple addresses and not identifying which one should be used to dispute the debt, in violation

   of § 1692e (10).

       48.    By reason thereof, Defendant is liable to Plaintiff for judgment in that Defendant's

   conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

   and attorneys’ fees.

                                            COUNT II

           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. §1692f et seq.

       49.    Plaintiff repeats the above allegations as if set forth herein.

       50.    In the alternative, Defendant’s debt collection efforts attempted and/or directed

   towards the Plaintiff violated various provisions of the FDCPA, including but not limited to 15

   U.S.C. § 1692f.

       51.    Pursuant to 15 U.S.C. § 1692f, a debt collector may not use any unfair or

   unconscionable means in connection with the collection of any debt.

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   52.     Defendant violated this section by unfairly providing multiple addresses and not

identifying which one to use for disputing a debt.

   53.     By reason thereof, Defendant is liable to Plaintiff for judgment in that Defendant's

conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages, costs

and attorneys’ fees.

                                         COUNT III

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. §1692g et seq.

   54.     Plaintiff repeats the above allegations as if set forth herein.

   55.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

   56.     Pursuant to 15 U.S.C. § 1692g:

              Within five days after the initial communication with a consumer in

              connection with the collection of any debt, a debt collector shall, unless the

              following information is contained in the initial communication or the

              consumer has paid the debt, send the consumer a written notice containing –

                   1. The amount of the debt;

                   2. The name of the creditor to whom the debt is owed;

                   3. A statement that unless the consumer, within thirty days after

                       receipt of the notice, disputes the validity of the debt, or any

                       portion thereof, the debt will be assumed to be valid by the debt-

                       collector;

                   4. A statement that the consumer notifies the debt collector in

                       writing within thirty-day period that the debt, or any portion


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                         thereof, is disputed, the debt collector will obtain verification of

                         the debt or a copy of a judgment against the consumer and a copy

                         of such verification or judgment will be mailed to the consumer

                         by the debt collector; and

                    5. A statement that, upon the consumer’s written request within the

                         thirty-day period, the debt collector will provide the consumer

                         with the name and address of the original creditor, if different

                         from the current creditor.

    57.     Defendant violated this section by providing multiple addresses and not identifying

which one to use for disputing the debt, thereby failing to provide the proper notice required by

§1692g in an initial collection letter.

    58.     By reason thereof, Defendant is liable to Plaintiff for judgment in that Defendant's

conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

and attorneys’ fees.

                              DEMAND FOR TRIAL BY JURY

    59.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

a trial by jury on all issues so triable.




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                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Jody Nasta, individually and on behalf of all others similarly

situated, demands judgment from Defendant Receivables Management Partners, LLC d/b/a rmp

LLC as follows:

             i.      Declaring that this action is properly maintainable as a Class Action and

          certifying Plaintiff as Class representative, and Tamir Saland, Esq. as Class Counsel;

            ii.      Awarding Plaintiff and the Class statutory damages;

           iii.      Awarding Plaintiff and the Class actual damages;

           iv.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees

          and expenses;

            v.       Awarding pre-judgment interest and post-judgment interest; and

           vi.       Awarding Plaintiff and the Class such other and further relief as this Court

          may deem just and proper.


      Dated: July 30, 2021                          Respectfully Submitted,

                                                    /s/ Randolph Emory
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